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INTAKE COPY

FILING FEE RECEIPT COPY

DUPLICATE

Court Name: TEXAS WESTERN
Division: 5

Receipt Number: op bnteste
Cashier ID: dga

Transaction Date: fi4so(gan7
Payer Name: VINCENT OWAK
CIVIL FILING FEE

For: VINCENT E. NOWAK

Amount: $400.

PAPER CHECK
Cheack/Money Order Nuns 1514
Amt Tendered: $400

 

 

 

Tota] Due: 400 .00
Total Tendered: Fao)
Change Amt: 0.00

SA-17-CV-1216. SINA MOGHTADER V.
NATIONAL BOARD OF MEDICAL
EXAMINERS .

(WHITER)
